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                          INDEX OF EXHIBITS
        Exhibit A         Declarations of Plaintiffs

        Exhibit B         Email to Chinmay Deore regarding SEVIS
                            termination

        Exhibit C         Email to Yogesh Joshi regarding SEVIS termination

        Exhibit D         Email to Xiangyun Bu regarding SEVIS termination

        Exhibit E         Email to Qiuyi Yang regarding SEVIS termination

        Exhibit F         Follow-up email to Qiuyi Yang regarding SEVIS
                             termination
